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                                               September 14, 2021

VIA ECF
Honorable John P. Cronan
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:    United States v. Ralph Scurlock
       21 Cr. 489 (JPC)


Dear Judge Cronan,

        I write to respectfully request that the Court adjourn the status conference that is currently
scheduled for tomorrow, Wednesday, September 14, 2021, for approximately 30 days. The
defense is still in the process of reviewing the discovery in this case (and has encountered
difficulty providing a copy to Mr. Scurlock, which the parties are attempting to rectify) and
needs additional time to do so. In addition, undersigned counsel is currently out of state and
unavailable to appear in person tomorrow.

        The Government, by Assistant United States Attorney Jane Chong, has no objection to
this application.

      Given the nature of this request, the defense consents to the exclusion of time under the
Speedy Trial Act until the newly selected date.

       Thank you for your consideration.

Respectfully submitted,

/s/
Sylvie Levine
Assistant Federal Defender
Counsel for Mr. Scurlock




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